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             EXHIBIT A
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CLAIM ID      DISPLAY ID                 SST-902919        LEA-0403
SST-910425    BWS-0011                   SST-905279        NIS-0090
SST-901815    HAS-0066                   SST-907406        BWS-0166
SST-906499    MAS-0081                   SST-906378        DAS-0014
SST-908683    HAS-0079                   SST-907422        BWS-0194
SST-908570    MCS-0025                   SST-901206        HAS-0257
SST-910095    MCS-0153                   SST-902851        MAS-0371
SST-903280    MCS-0205                   SST-904435        MKA-0070
SST-907207    MCS-0239                   SST-900437        LEA-0548
SST-908764    MCS-0250                   SST-900812        HAS-0300
SST-900396    MCS-0366                   SST-902707        BAS-0198
SST-908484    MCS-0376                   SST-907389        HAS-0345
SST-904782    MCS-0503                   SST-910156        MKA-0120
SST-900021    MCS-0571                   SST-905174        BAS-0272
SST-907776    LEA-0009                   SST-907574        HAS-0379
SST-905278    AIS-0139                   SST-906184        LEA-0605
SST-902844    AIS-0167                   SST-907205        MKA-0189
SST-900949    AIS-0227                   SST-907874        BAS-0357
SST-904775    AIS-0307                   SST-903920        BAS-0401
SST-906402    AIS-0355                   SST-902800        MAS-0505
SST-905432    AIS-0369                   SST-903040        MAS-0507
SST-907733    AIS-0433                   SST-906446        VAS-0332
SST-910457    AIS-0520                   SST-906317        JBS-0072
SST-909770    AIS-0529                   SST-900906        MAS-0521
SST-907653    AIS-0531                   SST-905651        FAS-0028
SST-900003    AIS-0632                   SST-907161        VAS-0368
SST-907342    AIS-1300                   SST-904282        VAS-0378
SST-908382    AIS-1459                   SST-908725        KAS-0452
SST-904056    LEA-0089                   SST-902797        MAS-0555
SST-906034    RBS-0438                   SST-910313        BWS-0326
SST-909650    RBS-0439                   SST-907167        BWS-0330
SST-908386    HAS-0124                   SST-906276        HAS-0528
SST-905565    AIS-1597                   SST-900511        PAS-0032
SST-903687    AIS-1693                   SST-905224        KAS-0921
SST-903171    MCS-0655                   SST-906563        KAS-0942
SST-905938    LEA-0194                   SST-398601        MBP-0533
SST-910247    NIS-0028                   SST-908104        DRT-1064
SST-906199    HAS-0163                   SST-903124        LEA-0914
SST-901998    MAS-0274                   SST-906942        MKA-0375
SST-900069    RBS-0637                   SST-905782        VAS-0784
SST-907396    BWS-0129                   SST-910078        MBP-0602
SST-904767    MAS-0292                   SST-907131        VAS-0841
SST-900939    KAS-0082                   SST-904696        DRT-1336
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SST-904418    BWS-0406                   SST-907894        VAS-1431
SST-902990    GRS-0019                   SST-900877        MAS-0883
SST-905035    FLS-0123                   SST-906538        VAS-1486
SST-907652    NIS-0217                   SST-900435        HCS-0037
SST-907359    KAS-1075                   SST-901110        VAS-1526
SST-902773    AVS-0025                   SST-907747        VAS-1528
SST-910433    LEA-0996                   SST-909898        GRS-0265
SST-909007    AAS-0128                   SST-901147        BUS-0040
SST-905058    BAS-0685                   SST-904422        GWS-0043
SST-905752    KAS-1195                   SST-900323        HAS-0744
SST-901892    CIS-0218                   SST-902862        BWS-0441
SST-903194    MKA-0545                   SST-901116        VAS-1662
SST-904053    LAS-0083                   SST-905073        GWS-0058
SST-900097    CIS-0231                   SST-902699        KAS-1583
SST-904039    HAS-0604                   SST-904754        VAS-1725
SST-905375    MAS-0700                   SST-910236        KAS-1607
SST-908346    KAS-1271                   SST-903303        GWS-0087
SST-903799    RBS-1071                   SST-901207        RAS-0158
SST-903045    CIS-0269                   SST-902818        VAS-1833
SST-904465    MIS-0141                   SST-901221        RAS-0161
SST-900603    RJS-0012                   SST-906705        VAS-1881
SST-903865    GRS-0128                   SST-902355        RBS-1915
SST-904987    RJS-0018                   SST-908094        VAS-1893
SST-907145    VAS-1180                   SST-902156        RBS-1922
SST-908388    KAS-1429                   SST-900280        HAS-0783
SST-908836    MKA-0596                   SST-905686        BTS-0346
SST-908604    CIS-0317                   SST-905002        MIS-0300
SST-909124    RBS-1292                   SST-904021        GWS-0096
SST-909148    RBS-1316                   SST-906343        HAS-0825
SST-908037    CIS-0325                   SST-903695        DPS-0016
SST-902215    HAS-0704                   SST-903361        CIS-0443
SST-905340    RYS-0007                   SST-900306        BTS-0439
SST-906891    MIS-0177                   SST-902151        RBS-2205
SST-900394    RYS-0012                   SST-905255        HAS-0868
SST-910288    VAS-1318                   SST-902764        HAS-0874
SST-903486    CIS-0348                   SST-904120        RBS-2247
SST-902897    BNS-0131                   SST-900482        RBS-2286
SST-902774    HAS-0719                   SST-910014        HAS-0899
SST-905288    RBS-1517                   SST-903406        RYS-0036
SST-905922    GWS-0018                   SST-905689        RYS-0039
SST-910304    MKA-0627                   SST-905598        RYS-0050
SST-907289    BCS-0092                   SST-905061        RBS-2380
SST-908016    KAS-1520                   SST-900838        BCS-0290
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SST-904368    MAS-1143                   SST-905612        MAS-1544
SST-902769    HAS-0975                   SST-905166        CIS-0581
SST-908779    CIS-0482                   SST-905281        NIS-0462
SST-908413    MIS-0351                   SST-906084        BCS-0533
SST-903638    RYS-0058                   SST-905087        BIS-0139
SST-906489    RBS-2773                   SST-905448        CAS-0181
SST-905609    BCS-0379                   SST-905339        RBS-3841
SST-900377    PAS-0100                   SST-906911        BCS-0543
SST-908745    RBS-2836                   SST-904310        KES-0158
SST-905263    IFS-0019                   SST-904196        KES-0171
SST-905411    MAS-1259                   SST-904926        KES-0232
SST-908503    RBS-2938                   SST-904983        KES-0258
SST-903415    LEA-1286                   SST-905167        KES-0312
SST-907605    BAS-0923                   SST-908202        KES-0316
SST-904498    RBS-2981                   SST-907101        KES-0348
SST-908405    RBS-3029                   SST-905483        KES-0367
SST-904610    BAS-0961                   SST-905317        KES-0463
SST-905331    RBS-3113                   SST-906403        RBS-3962
SST-903921    FFS-0036                   SST-905589        NIS-0515
SST-904377    RBS-3225                   SST-906471        BCS-0589
SST-904083    MKA-0721                   SST-908193        RBS-4014
SST-904402    BBS-0028                   SST-906553        BGS-0105
SST-904590    AIR-0013                   SST-908669        BAS-1224
SST-908674    HAS-1066                   SST-358640        PAS-0148
SST-906878    BTS-0700                   SST-900179        PAS-0159
SST-906980    BTS-0701                   SST-900009        PAS-0187
SST-905333    RBS-3518                   SST-908886        BGS-0204
SST-900055    MAS-1488                   SST-908931        BAS-1306
SST-908698    IGS-0102                   SST-908906        BGS-0218
SST-900345    RBS-3621                   SST-908185        BCS-0714
SST-904980    MAS-1502                   SST-909294        RBS-4356
SST-905168    CIS-0571                   SST-908853        RBS-4829
SST-905277    NIS-0437
